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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

: Case No.: 21-CR-736 (JEB)
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v. : 18 U.S.C, §§111(a)(1) and (b)
: 22 D.C. Code §4504
MARK ANDREW MAZZA 2
Defendant.
FINAL CONSENT ORDER OF FORFEITURE

WHEREAS, a vritten plea agreement was fited with this Court altd signed by defendant,
Mark Andrew Mazza, and his counse!, Gregory English, in which defendant has plead guilty to:
Counts Four and Ten in the Indictment, charging your client with Assaulting, Resisting, or
Impeding Certain Officers Using a Deadly or Dangcrous Weapon, in violation of 18 U.S.C.
§§111(a)(1) and (b), and Carrying a Pistol Without a License in violation of 22 D.C. Code
§4504(a).

WHEREAS, in his plea agreement, the defendant agreed to the forfeit property, that is,
forfeiture of any property, real or personal, which constitutes, involved with, or derived from
proceeds traceable to, the offense alleged in Count Four, which property is subject to forfeiture,
pursuant to Title 18, United States Code, Section 924(d) and the defendant agreed to a Preliminary
Order of Forfeiture for the same property described herein;

WHEREAS, the defendant has agreed to forfeit the following specific property:

One Smith & Wesson .40 Caliber semi-automatic firearm with serial # HTES830;
One “Judge” .45 caliber / .410 caliber revolver with serial # KX347625;
Ninety Eight (98) individual rounds of .40 caliber ammunition;

Nine Hundred Nineteen (919) individual rounds of .45 caliber ammunition;
One Hundred Eighteen (118) individual rounds of .410 gauge ammunition; and

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6. One (1) metal collapsible baton, black in color with serial number obliterated,
recovered from 314 Shelby Street, Shelbyville, IN, on 11/17/21, belonging to the
D.C. Metropolitan Police Department

which property is subject to forfeiture pursuant to Title 18, United States Code, Section 924(d);
WHEREAS, pursuant to Rule 32.2(b)(1) of the Federal Rules of Criminal Procedure, this

Court determines, based upon the evidence and information before it, including the defendant's

plea agreement, that any property, real or personal, which constitutes, involved with, or derived

from proceeds traceable to, the offense alleged in Count Four, which property is subject to

forfeiture, pursuant to Title 18, United States Code, Section 924(d), and that the following specific

property is subject to forfeiture:

One Smith & Wesson .40 Caliber semi-automatic firearm with serial # HTES830;

One “Judge” .45 caliber / .410 caliber revolver with serial # KX347625;

Ninety Eight (98) individual rounds of .40 caliber ammunition;

Nine Hundred Nineteen (919) individual rounds of .45 caliber ammunition;

One Hundred Eighteen (118) individual rounds of .410 gauge ammunition; and

One (1) metal collapsible baton, black in color with serial number obliterated,

recovered from 314 Shelby Street, Shelbyville, IN, on 11/17/21, belonging to the
D.C. Metropolitan Police Department;

BMAP LHS

and the Government has established the requisite nexus between the property and the offense,
WHEREAS, upon entry of a forfeiture order, Rule 32.2(b)(3) of the Federal Rules of
Criminal Procedure authorizes the Attomey General or a designee to conduct any discovery the
Court considers proper in identifying, locating, or disposing of property subject to forfeiture;
NOW THEREFORE, IT 1S HEREBY ORDERED, ADJUDGED, AND DECREED:
1. That the following property is declared forfeited to the United States, pursuant to
Title 18, United States Code, Section 924(d): and property that constitutes, is involved with, or
derived from proceeds traceable to, the offense alleged in Count Four:

a) One Smith & Wesson .40 Caliber semi-automatic firearm with serial # HTE5S830;

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b) One “Judge” .45 caliber / 410 caliber revolver with serial # KX347625;
c) Ninety Eight (98) individual rounds of .40 calibor ammunition;
d) Nine Hundred Nineteen (919) individual rounds of .45 caliber ammunition;
¢) One Hundred Eighteen (118) individual rounds of .410 gauge ammunition; and
f) One (1) metal collapsible baton, black in color with serial number obliterated,
recovered from 314 Shelby Street, Shelbyville, IN, on 11/17/21, belonging to the
D.C. Metropolitan Police Department
2. The Court shall retain jurisdiction to enforce this Order, and to amend it as
necessary, pursuant to Rule 32.2(e) of the Federal Rules of Criminal Procedure.
3. That pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure this
Order of Forfeiture shall become final as to the defendant at the time of sentencing, and shall be
made part of the sentence and included in the judgment.
4. The Attomey General or a designee, pursuant to Rule 32.2(b\(3) of the Federal
Rules of Criminal Procedure, is authorized to conduct any discovery to identify, locate, or dispose
of property subject to this Order.
5. The Clerk of the Court shall forward a certified copy of this Order to

USADC.AFMLS2@usdoj.gov.

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Dated this 20°" dayof__ 0¢#_, 2022.

 
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WE ASK FOR THIS:

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